18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 1 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 2 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 3 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 4 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 5 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 6 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 7 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 8 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 9 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 10 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 11 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 12 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 13 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 14 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 15 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 16 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 17 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 18 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 19 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 20 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 21 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 22 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 23 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 24 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 25 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 26 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 27 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 28 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 29 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 30 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 31 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 32 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 33 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 34 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 35 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 36 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 37 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 38 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 39 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 40 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 41 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 42 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 43 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 44 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 45 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 46 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 47 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 48 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 49 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 50 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 51 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 52 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 53 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 54 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 55 of 56
18-55803-tjt   Doc 1-1   Filed 11/26/18   Entered 11/26/18 11:12:24   Page 56 of 56
